 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 1 of 55 PageID #:29371




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE TURKEY ANTITRUST LITIGATION
                                           No. 1:19-cv-08318

                                           Hon. Virginia M. Kendall
This Document Relates To:                  Hon. Keri Holleb Hotaling

All Direct Purchaser Plaintiff Actions


       DIRECT PURCHASER PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
                  MOTION FOR CLASS CERTIFICATION


                               REDACTED PUBLIC VERSION
     Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 2 of 55 PageID #:29372




                                                  TABLE OF CONTENTS
                                                                                                                                          Page

I.       INTRODUCTION ...............................................................................................................1

II.      CLASS DEFINITION .........................................................................................................6

III.     PROFFER OF FACTS COMMON TO THE CLASS.........................................................7

         A.        In 2008, Processor Defendants initiated their conspiracy to restrain
                   supply by hiring Agri Stats to perform a forward-looking
                   production “outlook study for the US turkey industry.” ..........................................7

         B.        Agri Stats was the lynchpin of Defendants’ collusion throughout
                   the class period.........................................................................................................8

         C.        Processor Defendants used Agri Stats reports to monitor each
                   other, including competitors’ production plans. ....................................................10
         D.        Defendants systematically relied on Agri Stats sales reports to raise
                   prices. .....................................................................................................................12

         E.        Processor Defendants and Agri Stats coordinated on specific
                   projects during the class period to further their collusive activities. .....................18

         F.        Fueled by the coordination of Agri Stats, as well as direct
                   communications, Defendants restrained production and inflated
                   prices throughout the class period..........................................................................20

IV.      LEGAL STANDARD........................................................................................................24

V.       ARGUMENT .....................................................................................................................25

         A.        The elements of Rule 23(a) support certification. .................................................25

                   1.         The class is sufficiently numerous. ............................................................25

                   2.         Common questions of fact and law exist. ..................................................26

                   3.         The claims of the Named Plaintiffs are typical of the class
                              claims. ........................................................................................................26

                   4.         The Named Plaintiffs will adequately represent the class. ........................27

         B.        The class satisfies Rule 23(b)(3). ...........................................................................27

                   1.         Questions of law and fact predominate over any individual
                              questions. ...................................................................................................28

                              a.          Common questions as to Defendants’ violations of
                                          antitrust law predominate. ..............................................................29



                                                                      i
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 3 of 55 PageID #:29373



                           b.        Antitrust impact will be proven through evidence
                                     that is common to the class. ...........................................................30

                                     (1)        Market structure evidence demonstrates that
                                                the turkey market was conducive to cartel
                                                pricing. ...............................................................................31

                                     (2)        Common evidence demonstrates that
                                                industry-wide market prices were a shared
                                                reference point for all transactions .....................................34

                                     (3)        Collectively, these market structure facts, in
                                                combination with the basic economic laws
                                                of supply and demand, support a finding of
                                                common impact..................................................................37

                                     (4)        Regression analyses shows common impact
                                                in the form of higher prices................................................39

                                     (5)        Additional common econometric evidence
                                                demonstrates that all or nearly all direct
                                                purchasers suffered impact. ...............................................41

                2.         Damages can be measured using a common methodology. ......................41

                3.         A class action is superior to any other alternative. ....................................42

                4.         The class is ascertainable. ..........................................................................43

      C.        Class Counsel are adequate under Rule 23(g). ......................................................44

VI.   CONCLUSION ..................................................................................................................44




                                                               ii
  Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 4 of 55 PageID #:29374




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

American Column & Lumber Co. v. United States,
  257 U.S. 377 (1921) ...................................................................................................................9

Amgen Inc. v. Conn. Ret. Plans & Trust Funds,
  568 U.S. 455 (2013) .................................................................................................................25

Arreola v. Godinez,
   546 F.3d 788 (7th Cir. 2008) ...................................................................................................24

Beaton v. SpeedyPC Software,
   907 F.3d 1018 (7th Cir. 2018) .....................................................................................26, 28, 43

In re Blood Reagents Antitrust Litig.,
    2015 WL 6123211 (E.D. Pa. Oct. 19, 2015)............................................................................36

In re Broiler Chicken Antitrust Litig.,
    2022 WL 1720468 (N.D. Ill. May 27, 2022) ......4, 6, 25, 26, 27, 29, 31, 34, 39, 40, 42, 43, 44

In re Broiler Chicken Antitrust Litig.,
    No. 22-8007 (7th Cir. July 18, 2022) .........................................................................................6

In re Capacitors Antitrust Litig.,
    2018 WL 5980139 (N.D. Cal. Nov. 14, 2018) ........................................................................31

Carnegie v. Household Int’l, Inc.,
   376 F.3d 656 (7th Cir. 2004) ...................................................................................................43

Comcast Corp. v. Behrend,
  569 U.S. 27 (2013) .......................................................................................................25, 41, 42

Consumer Indirect Purchaser, v. Agri Stats, Inc.,
   No. 23-8002 (8th Cir. May 19, 2023) ........................................................................................6

Erica P. John Fund, Inc. v. Halliburton Co.,
   563 U.S. 804 (2011) .................................................................................................................28

Fauley v. Drug Depot, Inc.,
   323 F.R.D. 594 (N.D. Ill. 2018) ...................................................................................25, 26, 43

Gen. Leaseways, Inc. v. Nat’l Truck Leasing Ass’n,
   744 F.2d 588 (7th Cir. 1984) ...................................................................................................38



                                                                   iii
  Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 5 of 55 PageID #:29375




Keele v. Wexler,
   149 F.3d 589 (7th Cir. 1998) ...................................................................................................26

Kleen Prods. LLC v. Int’l Paper Co.,
   831 F.3d 919 (7th Cir. 2016) .........................................5, 24, 25, 28, 29, 31, 32, 33, 34, 39, 41

Kleen Prods. v. Int’l Paper,
   306 F.R.D. 585 (N.D. Ill. 2015) ...............................................................................................30

In re Linerboard Antitrust Litig.,
    305 F.3d 145 (3d Cir. 2002).....................................................................................................38

Loeb Indus., Inc. v. Sumitomo Corp.,
   306 F.3d 469 (7th Cir. 2002) ...................................................................................................42

Messner v. Northshore Univ. HealthSystem,
   669 F.3d 802 (7th Cir. 2012) ...........................................................................25, 28, 29, 30, 42

Moehrl v. Nat’l Ass’n of Realtors,
  2023 WL 2683199 (N.D. Ill. Mar. 29, 2023) ............................................25, 29, 30, 40, 41, 42

Mullins v. Direct Digital, LLC,
   795 F.3d 654 (7th Cir. 2015) .......................................................................................42, 43, 44

In re Mushroom Direct Purchaser Antitrust Litig.,
    319 F.R.D. 158 (E.D. Pa. 2016) ...............................................................................................36

Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods, LLC,
   31 F.4th 651 (9th Cir. 2022) ..................................................................5, 30, 31, 34, 39, 40, 41

In re Pharm. Indus. Average Wholesale Price Litig.,
    582 F.3d 156 (1st Cir. 2009) ....................................................................................................42

In re Pork Antitrust Litig.,
    2023 WL 2696497 (D. Minn. Mar. 29, 2023) .....................6, 29, 30, 31, 34, 37, 39, 40, 41, 42

Riffey v. Rauner,
    910 F.3d 314 (7th Cir. 2018) ...................................................................................................24

Ross v. Gossett,
   33 F.4th 433 (7th Cir. 2022) ....................................................................................................28

Saltzman v. Pella Corp.,
    257 F.R.D. 471 (N.D. Ill. 2009) ...............................................................................................27

In re Steel Antitrust Litig.,
    2015 WL 5304629 (N.D. Ill. Sept. 9, 2015) ............................................................................28



                                                                  iv
  Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 6 of 55 PageID #:29376




In re Sulfuric Acid Antitrust Litig.,
    2007 WL 898600 (N.D. Ill. Mar. 21, 2007) .............................................................................29

In re Text Messaging Antitrust Litig.,
    782 F.3d 867 (7th Cir. 2015) ...................................................................................................31

Todd v. Exxon Corp.,
   275 F.3d 191 (2d Cir. 2001).......................................................................................................9

Toys “R” Us v. Fed. Trade Comm’n,
   221 F.3d 928 (7th Cir. 2000) ...................................................................................................28

In re Urethane Antitrust Litig.,
    251 F.R.D. 629 (D. Kan. 2008)................................................................................................30

In re Urethane Antitrust Litig.,
    768 F.3d 1245 (10th Cir. 2014) .........................................................................................29, 30

Wal-Mart Stores, Inc. v. Dukes,
   564 U.S. 338 (2011) ...........................................................................................................24, 26

In re Wholesale Grocery Prods. Antitrust Litig.,
    2016 WL 4697338 (D. Minn. 2016) ........................................................................................27

In re Workers’ Comp.,
    130 F.R.D. 99 (D. Minn. 1990)................................................................................................26

Zarinebaf v. Champion Pet Foods USA, Inc.,
   2023 WL 2561613 (N.D. Ill. Mar. 17, 2023) .....................................................................28, 43

Rules

Fed. R. Civ. P. 23 .........................................................................................................24, 25, 28, 42

Fed. R. Civ. P. 23(a) ......................................................................................................4, 24, 25, 26

Fed. R. Civ. P. 23(a)(1) ..................................................................................................................25

Fed. R. Civ. P. 23(a)(2) .................................................................................................................26

Fed. R. Civ. P. 23(a)(3) ..................................................................................................................26

Fed. R. Civ. P. 23(a)(4) ..................................................................................................................27

Fed. R. Civ. P. 23(b) ......................................................................................................................24

Fed. R. Civ. P. 23(b)(3)......................................................................................4, 27, 28, 29, 42, 43

Fed. R. Civ. P. 23(c) .....................................................................................................................43

                                                                      v
  Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 7 of 55 PageID #:29377




Fed. R. Civ. P. 23(d) ......................................................................................................................43

Fed. R. Civ. P. 23(g) ......................................................................................................................44

Other Authorities

Phillip E. Areeda & Herbert J. Hovenkamp,
    Antitrust Law §395 (4th ed. 2021) ...........................................................................................40

Charles Alan Wright & Arthur R. Miller,
   Federal Practice & Procedure § 1781 (3d ed. 2020) ................................................................29

Justice Department Withdraws Outdated Enforcement Policy Statements,
    U.S Department of Justice (Feb. 3, 2023),
    https://www.justice.gov/opa/pr/justice-department-withdraws-outdated-
    enforcement-policy-statements ..................................................................................................9




                                                                     vi
Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 8 of 55 PageID #:29378




                         GLOSSARY OF INDUSTRY TERMS

        Term                                         Definition
breeder or breeder    Turkeys that produce the fertilized eggs that grow into turkey for
hen                   human consumption.
breeder barn          A building that is used for raising poults prior to the grow-out house.
ground turkey         Turkey meat ground for human consumption.
grow out or grow-     A building that is used for raising turkeys for human consumption.
out barn
                      A facility for hatching eggs. Fertilized eggs are placed into an
hatchery              incubator that maintains conditions favorable for hatching.
hen                   Female turkey.
                      An acronym for “No Antibiotics Ever.” This refers to turkey that may
NAE                   be marketed or sold with the “no antibiotics ever” or “raised without
                      antibiotics” or “antibiotics free” (ABF) labels.
NTF                   National Turkey Federation.
                      Young turkeys that have not grown large enough for human
poult                 consumption.
ready-to-eat or RTE   Cooked turkey meat that is fit for sale to consumers.
ready-to-cook or      Raw dressed turkey meat that is fit for sale to consumers. Ready-to-
RTC                   cook items include products like tray packs of ground turkey meat.
tom                   Male turkey.
                      Product packaged in a plastic tray within the case pack. Turkey is often
tray pack             sold to consumers in grocery stores in a tray pack format.
Urner Barry           A company reporting turkey prices.
                      The United States Department of Agriculture is the federal agency that
USDA                  proposes programs and implements policies and regulations related to
                      American farming, forestry, ranching, food quality, and nutrition.
whole bird            A turkey sold as an entire bird. Hens are typically sold as whole birds.




                                             vii
Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 9 of 55 PageID #:29379




                            TABLE OF ABBREVIATIONS

 Short Cite Used                                  Full Citation
                    Direct Purchaser Plaintiffs’ Third Amended Class Action Complaint,
Complaint           ECF No. 665 (Dec. 2, 2022)
                    Agri Stats, Butterball, Cargill, Cooper Farms, Farbest, Foster Farms,
Defendants          Hormel, House of Raeford, Perdue, and Prestage (as defined below)
DPPs                Direct Purchaser Plaintiffs
                    All exhibit references are to the Declaration of Shana E. Scarlett in
Ex.                 Support of Direct Purchaser Plaintiffs’ Motion for Class Certification
Named Plaintiffs    John Gross and Company, Inc. and Maplevale Farms, Inc.
Processor           Butterball, Cargill, Cooper Farms, Farbest, Foster Farms, Hormel,
Defendants          House of Raeford, Perdue, and Prestage (as defined below)
Williams            Expert Report of Michael A. Williams, Ph.D. (Dec. 2, 2022)
Williams Reply      Expert Reply Report of Michael A. Williams, Ph.D. (Mar. 31, 2023)
Williams Sur-Reply Expert Sur-Reply Report of Michael A. Williams, Ph.D. (Jun. 28, 2023)
 Short Cite Used                    Defendant and Co-Conspirator Names
                    Defendant Agri Stats, Inc. and Express Markets, Inc., Defendant Agri
Agri Stats          Stats’s subsidiary
Butterball          Defendant Butterball, LLC
Cargill             Defendant Cargill Inc. and Cargill Protein – North America
Cooper Farms        Defendant Cooper Farms, Inc.
Farbest             Defendant Farbest Foods, Inc.
Foster Farms       Defendants Foster Farms, LLC, and Foster Poultry Farms
Hormel or Jennie-O Defendants Hormel Foods Corporation and Jennie-O Turkey Store, Inc.
or JOTS
House of Raeford   Defendant House of Raeford Farms, Inc.
Perdue             Defendants Perdue Farms, Inc. and Perdue Foods LLC
                    Defendants Prestage Farms, Inc., Prestage Foods, Inc., and Prestage
Prestage            Farms of South Carolina, LLC
                    Settled Defendants Tyson Foods, Inc., The Hillshire Brands Company,
Tyson or Sara Lee   Tyson Fresh Meats, Inc., and Tyson Prepared Foods, Inc.
Dakota Provisions   Co-Conspirator Dakota Provisions, LLC
Kraft               Co-Conspirators Kraft Heinz Foods Company and Kraft Foods Group
Michigan Turkey     Co-Conspirator Michigan Turkey Producers LLC
Norbest             Co-Conspirator Norbest LLC
West Liberty        Co-Conspirator West Liberty Foods LLC

                                           viii
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 10 of 55 PageID #:29380




                                      I.      INTRODUCTION

        Direct Purchaser Plaintiffs (DPPs)1 move to certify a class of all persons and entities who

purchased fresh or frozen uncooked turkey breast, ground turkey, or whole bird turkey products

from Defendants during the period January 1, 2010, through December 31, 2016.2 These class

members have all suffered a common harm—being overcharged for turkey due to Defendants’

anticompetitive conduct.

        As set forth in the proffer, common evidence establishes Defendants’ antitrust liability

here. This conspiracy began in the summer of 2008. Defendants, who collectively control over

  % of the turkey market, faced a significant problem: competition in the market had caused

turkey production to soar from 2006 to 2008, causing decreasing profits for the industry,

especially as feed costs rose in 2008. Defendants needed to collectively restrain production and

turned to Agri Stats. Specifically,




                                                                                                       3



        Agri Stats employees understood that an
                                                          4
                                                              Agri Stats knew that prior attempts to



                            Indeed, this time, the plan worked. In


  1
    The proposed class representatives bringing this motion on behalf of the DPP class are John Gross and
Company, Inc. and Maplevale Farms, Inc. (Named Plaintiffs).
  2
    DPPs have settled with Tyson, and the Court has certified that settlement class. This motion is brought
against Butterball, Cargill, Cooper Farms, Farbest, Foster Farms, Hormel, House of Raeford, Perdue, and
Prestage (Processor Defendants), as well as Agri Stats (collectively, Defendants).
  3
    Ex. 4, FARBEST0001233314.
  4
    Ex. 5, AGSTAT-T-03963596.
  5
    Id.

                                                    -1-
Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 11 of 55 PageID #:29381




                                                 Agri Stats subsequently presented




                                          7




       Defendants’ plan worked and the market turned around.




6
    Ex. 6, NTF0000044755, at 756.
7
    Ex. 7, FARBEST0001373509; Ex. 8, FARBEST0001373510, at 524.

                                              -2-
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 12 of 55 PageID #:29382




          Moreover, Agri Stats remained at the center of the conspiracy. Throughout the entire

class period, the Processor Defendants exchanged—through Agri Stats—competitively sensitive

output and pricing data. Processor Defendants relied on that data to make both production and

pricing decisions resulting in artificially increased turkey prices. In particular, Processor

Defendants used

                                     For example,




  8
      Ex. 1, Williams, ¶ 184, fig. 24.

                                                    -3-
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 13 of 55 PageID #:29383



                                       9
                                           Likewise,



                                                                 10



        In 2016, however, after the filing of the In re Broiler Chicken Antitrust Litig. lawsuits,

which included allegations of anticompetitive conduct centered on usage of Agri Stats, the

conspiracy started to unravel.

                                                                                     See Proffer,

sections III.A-F.

        DPPs seek certification of a class to recover their damages from Defendants’

anticompetitive conduct. Just as the Honorable Judge Thomas M. Durkin held in Broilers, the

four elements of Rule 23(a) “are easily met in this case.”11 The proposed class is sufficiently

numerous. There are many common questions of law and fact, such as whether Defendants

conspired to exchange competitive information and stabilize the supply and price of turkey, and

whether this violates antitrust laws. The Named Plaintiffs have each suffered losses that make

them typical of absent class members, and they are sufficiently committed to this litigation that

they will adequately represent the class. See sections V.A.1-4.

        DPPs also meet the requirements of Rule 23(b)(3), as common questions of fact and law

predominate. DPPs present robust evidence, common to the class, of the Defendants’ antitrust

liability. And the existence of a relevant antitrust market for turkey, as well as Processor Defend-

ants’ market power, which are pertinent to the rule of reason claim, are supported by common

evidence too, in the form of expert analysis by Dr. Michael A. Williams. See section V.B.1.a.


  9
    Ex. 9, BB001523233.
  10
     Ex. 10, CMS0000036854, at 855.
  11
     In re Broiler Chicken Antitrust Litig., No. 16 C 8637, 2022 WL 1720468, at *3 (N.D. Ill. May 27,
2022) (Broilers).

                                                   -4-
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 14 of 55 PageID #:29384




         Common evidence is also capable of proving antitrust impact. First, as the Seventh

Circuit found in the containerboard industry in Kleen, certain characteristics of the turkey

industry—its high level of concentration, barriers to entry, absence of competition from imports,

lack of substitutes, and commodity nature of the products—render it particularly susceptible to

cartelization. Second, common evidence demonstrates that

                                                                           Third, Dr. Williams’s

regression models demonstrate the higher prices caused by this conspiracy. In fact, in recently

certifying three plaintiff classes, the Ninth Circuit stated in Tuna—a case involving the same

experts as here (Drs. Williams and Mangum)—that regression models are “widely accepted as a

generally reliable econometric technique” to “isolate the impact of the alleged antitrust

violations.”12 Fourth, additional common econometric evidence demonstrates that virtually all

direct purchasers suffered impact. See sections V.B.1.b.(1)-(5). And Dr. Williams employs a

common methodology to measure over $1.6 billion in damages to class members. See section

V.B.2.

         Finally, a class action is superior to any other available method to adjudicate this dispute,

including proceeding by individual claims—or, most likely for many class members, not

proceeding at all—because individual damages are far smaller than the resources required to

litigate against some of the largest agribusiness companies in the country. See section V.B.3.

         In short, the proposed DPP class should be certified. Indeed, that has been the consensus

approach to handling similar lawsuits pending in other protein industries sharing Agri Stats data.

In Broilers, Judge Durkin certified three plaintiff classes, and the Seventh Circuit denied the



  12
    Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods, LLC, 31 F.4th 651, 677 (9th Cir. 2022)
(Tuna). Throughout this document, internal citations and quotations are omitted, and emphasis is added,
unless otherwise indicated.

                                                   -5-
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 15 of 55 PageID #:29385




defendants’ 23(f) petition seeking review of that decision.13 Likewise, in Pork, the Honorable

John R. Tunheim certified three plaintiff classes supported by the same experts as here (Drs.

Williams and Mangum), and the defendants’ 23(f) petition was again denied, this time by the

Eighth Circuit.14 DPPs respectfully request that the Court grant their class certification motion.

                                     II.     CLASS DEFINITION

        DPPs propose to certify a direct purchaser class defined as follows:

                All persons and entities who directly purchased fresh or frozen, uncooked
                turkey breast, ground turkey, or whole bird turkey products15 from
                Defendants in the United States during the Class Period.16

The Class Period is defined as January 1, 2010, through December 31, 2016. In addition, because



          —but

                                     —Dr. Williams’s analysis also includes a ramp-up period from

July 2008 through December 2009, during which he


  13
     Broilers, 2022 WL 1720468; In re Broiler Chicken Antitrust Litig., No. 22-8007, ECF No. 25 (7th
Cir. July 18, 2022).
  14
     In re Pork Antitrust Litig., No. CV 18-1776 (JRT/JFD), 2023 WL 2696497 (D. Minn. Mar. 29, 2023)
(Pork); Consumer Indirect Purchaser, et. al v. Agri Stats, Inc., et. al., No. 23-8002, ID: 5278928 (8th Cir.
May 19, 2023).
  15
     Turkey breast products exclude: (1) turkey breasts used to make ground turkey; (2) turkey breast
tenderloins; (3) organic turkey breast products; (4) NAE or ABF turkey breast products; and (5) cooked or
RTE turkey breast products. Ground turkey products exclude: (1) ground turkey products made from
turkey breasts; (2) ground turkey products made from turkey wings; (3) burgers, sausages, and patties; (4)
organic ground turkey products; (5) NAE or ABF ground turkey products; and (6) cooked or RTE ground
turkey products. Whole bird turkey products exclude: (1) organic turkey whole bird products; (2) NAE or
ABF turkey whole bird products; and (3) cooked or RTE turkey whole bird products.
  16
     Specifically excluded from this Class are the Defendants and their co-conspirators; the officers,
directors or employees of any Defendant or co-conspirator; any entity in which any Defendant or their co-
conspirator has a controlling interest; any entity with an interest, controlling or non-controlling, in a
Defendant or their co-conspirator; any entity where an individual owner, trust, and/or holding company
also had an interest in any Defendant (whether as an individual, member, trust, trustee, legal
representative, heir or assign) of greater than 5% during any year of the Class Period; any (in whole or in
part) affiliate, legal representative, heir, or assign of any Defendant or their co-conspirator. Also excluded
from this Class are any federal, state, or local governmental entities, any judicial officer presiding over
this action and the members of his/her immediate family and judicial staff, any juror assigned to this
action, and any co-conspirator identified in this action.

                                                     -6-
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 16 of 55 PageID #:29386




                                                                                  Ex. 2,

Williams Reply, ¶¶ 151-152, 155. The Class Period ends in 2016 with the filing of the Broilers

complaint and Processor Defendants canceling their Agri Stats subscriptions on various dates

beginning in 2017. Id., ¶ 156.

                     III.     PROFFER OF FACTS COMMON TO THE CLASS

A.       In 2008, Processor Defendants initiated their conspiracy to restrain supply by hiring
         Agri Stats to perform a forward-looking production “outlook study for the US
         turkey industry.”

         In               , Processor Defendants led by




                             17
                                  As



                      8
                          Although it was contrary to
                                                 20


                 1



         On




 17
      Ex. 11, AGSTAT-T-03962264; Ex. 12, COOPER0000201477; Ex. 13, AGSTAT-T-03945732


          Ex. 14, Williams Depo., 45:23-46:4.
 18
      Ex. 15, Edwards Depo., 32:22-33:1, 33:14-15.
 19

                                 Ex. 16, Brandenberger Depo., 23:19-24:10.
 20
    Ex. 17, Knapp Depo., Ex. 81.
 21
    Ex. 13, AGSTAT-T-03945732; Ex. 16, Brandenberger Depo., Ex. 322 (Scholer Depo., Ex. 322).

                                                        -7-
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 17 of 55 PageID #:29387



                   22
                        Then, upon advice of




                                                          5



B.    Agri Stats was the lynchpin of Defendants’ collusion throughout the class period.



           6




 22
    Id.; Ex. 19, AGSTAT-T-03944136.
 23
    Ex. 7, FARBEST0001373509; Ex. 8, FARBEST0001373510, at 510-539, 591-594, 619-627.
 24
    Ex. 20, AGSTAT-T-03636493; Ex. 21, AGSTAT-T-03636494; Ex. 1, Williams, ¶¶ 267-278.
 25
    Ex. 22, Wellman Depo., 43:1-6.
 26
    Ex. 2, Williams Reply, ¶ 284 & TT.6, A3-A12 (Appx. V); see also Ex. 1, Williams, ¶¶ 174-175.

                                                 -8-
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 18 of 55 PageID #:29388




                                                                                28
                                                                                     Ex. 1, Williams,

¶¶ 147-160.
               9
                   And Processor Defendants
                                                                                                        30


                                                                                                             31
Instead, the

        Absent collusion, such information is not normally shared with competitors. Indeed, the




                                               2
                                                   And



                                                         3
                                                             Processor Defendants routinely




     Ex. 24, Demonstrative re Payments to Agri Stats.
  28
     Ex. 25, BB001394151
              See Todd v. Exxon Corp., 275 F.3d 191, 211 (2d Cir. 2001) (“current data have greater
potential to affect future prices and facilitate price conspiracies”); American Column & Lumber Co. v.
U.S., 257 U.S. 377, 410 (1921) (“Genuine competitors do not make daily, weekly and monthly reports of
the minutest details of their business to their rivals.”); Justice Department Withdraws Outdated
Enforcement Policy Statements, U.S DEPARTMENT OF JUSTICE (Feb. 3, 2023),
https://www.justice.gov/opa/pr/justice-department-withdraws-outdated-enforcement-policy-statements
(withdrawing recognition of “safety zone” for information that is, inter alia, “more than three months old”
as “overly permissive on certain subjects, such as information sharing”).
  29
     Ex. 15, Edwards Depo., 39:7-12.
  30
     Ex. 26, CMS0000095297.
  31
     Ex. 17, Knapp Depo., 102:12-14. See also Ex. 27, AGSTAT-T-03618467; Ex. 28, AGSTAT-T-
03325661.
  32
     Ex. 6, NTF0000044755, at 755-56.
  33
     Ex. 29, Meath Depo., Ex. 816.

                                                     -9-
Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 19 of 55 PageID #:29389




      Indeed, Processor Defendants



          4                                                        5
                                                                       And



                        36



C.    Processor Defendants used Agri Stats reports to monitor each other, including
      competitors’ production plans.



                                                   7




                             Indeed,
                                                             38



      As a result,




 34
    Ex. 30, Bower Depo., 86:17-22.
 35
    Ex. 31, Jackson Depo., 118:23 -119:3.
 36
    Ex. 32, Stone Depo., 64:21-25.
 37
    Ex. 33, Milton Depo., 172:5-14; Ex. 17, Knapp Depo., 206:12-207:2.
 38
    Ex. 34, BB001951912.
 39
    Ex. 35, BB001391778.

                                                 - 10 -
Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 20 of 55 PageID #:29390




        Similarly,




                                                                     41




                                                                          2




40
     Ex. 36, CMS0000001603, at 668. See also Ex. 37, CMS0000054978




41
     Ex. 38, CMS0000091545.
42
     Ex. 39, CMS0000299330



                                               - 11 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 21 of 55 PageID #:29391




                  3
                      He testified that




                                                                 44
                                                                      And one employee commented that
                                                             5



        Indeed,



                                   6
                                       And, when



                                                                      7



D.      Defendants systematically relied on Agri Stats sales reports to raise prices.




                                                                                Ex. 1, Williams, ¶¶ 149-

151.




  43
     Ex. 23, Leitch Depo., Exs. 794, 2415. Throughout this document, Agri Stats is spelled, capitalized,
and spaced as in the quoted exhibit or production document.
  44
     Id. at 126:18-127:2, 127:11-22.
  45
     Ex. 40, Maxwell Depo., 38:23-39:12, Ex. 2283.
  46
     Ex. 41, PERDUETKY0000089814; Ex. 42, COOPER0000211767, at 768.
  47
     Ex. 43, FARBEST0000642993, at 993-994. Agri Stats declined in this instance.

                                                    - 12 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 22 of 55 PageID #:29392



                                                               8
                                                                   Thus, Processor Defendants




       For example,
                     49
                          In




                                                                                                50
                                                                                                     In

another email from
                                                                                       1
                                                                                           He

continued,




                               52




                                                                      53




 48
    Ex. 44, McKay Depo., Ex. 1222.
 49
    Ex. 45, BB000979833.
 50
    Ex. 46, BB001827198, at 199; Ex. 47, BB001850464, at native 9.
 51
    Ex. 48, BB000676402, at 403.
 52
    Id.
 53
    Ex. 47, BB001850464, at native 9.

                                                - 13 -
Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 23 of 55 PageID #:29393




                          54



        Similarly, in a




           5
               And in




54
     Ex. 9, BB001523233 (emphasis added)
55
     Ex. 10, CMS0000036854, at 855.

                                           - 14 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 24 of 55 PageID #:29394



                56
                     She continued,
                                                                               57
                                                                                    Indeed,

internal
                              58




                For instance, in a




                                                               60
So he told his team to                                              And in a




  56
     Ex. 49, CMS0000037767.
  57
     Id.
  58
     Ex. 50, CMS0000009460, at 484.
  59
     Ex. 51, HRLTURKEY0000100480.
  60
     Id.

                                        - 15 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 25 of 55 PageID #:29395




                                                                 61
                                                                      Another email

instructs:
                                                          2




                                                                             63




                                                  64




                                                                        65



                                                                      For instance, in




  61
     Ex. 52, HRLTURKEY0000057164.
  62
     Ex. 53, HRLTURKEY0000024702.
  63
     Ex. 54, COOPER0000175405, at 406.
  64
     Ex. 55, FARBEST0000250226.
  65
     Ex. 56, FARBEST0000604229.

                                         - 16 -
Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 26 of 55 PageID #:29396




                                                                            6




     For example,




                                                                                7




                                                                   8




                   9
                       And



              70



     Finally,

          For example, in



         71
              And
                                      72




66
   Ex. 57, FF-TKY-00067728, Ex. 58, FF-TKY-00067729, at 793-806.
67
   Ex. 59, HRF-Turkey_0000141473-474.
68
   Ex. 60, PERDUETKY0000090971-972.
69
   Ex. 61, PERDUETKY0000376345, at native 10.
70
   Ex. 44, McKay Depo., Ex. 1225.
71
   Ex. 62, AGSTAT-T-03331706.
72
   Ex. 63, AGSTAT-T-03331708, at 719.

                                             - 17 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 27 of 55 PageID #:29397




       In short,



       73
            and Processor Defendants used these                       to increase prices industrywide.

E.     Processor Defendants and Agri Stats coordinated on specific projects during the
       class period to further their collusive activities.

       The Processor Defendants turned to




                                                         Gary Cooper, explained that this new initiative

reflected the industry’s strategy of “coopetition”—a portmanteau of cooperation and

competition—premised on the notion that a “rising tide lifts all boats.”74 He explained that the




       75
            As part of this goal,
                                                                         76
                                                                              such that
                                                                                      77




                                    78
                                         Ultimately,




 73
    Ex. 56, FARBEST0000604229.
 74
    Ex. 64, COOPER0000210407.
 75
    Ex. 65, COOPER0000215873, at 874.
 76
    Ex. 66, COOPER0000129910.
 77
    Ex. 67, Martin Depo., Ex. 2023.
 78
    Id.

                                                       - 18 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 28 of 55 PageID #:29398




                     79



        Second, Agri Stats/EMI worked solely with Processor Defendants to initially develop a

daily “Turkey Price Discovery” system that would enable the producers to track real time, or

near-real-time, pricing of turkey products.80 By
                          1




         2                                                                        83
             which




                              84
                                   For example,



                                      5
                                          But
                                                                        86
                                                                             and to
                                                                                       7
      , also noting that



                                          8




 79
    Id., Exs. 2024 & 2028.
 80
    Ex. 68, COOPER0000192800. See also Ex. 1, Williams, ¶¶ 164-169.
 81
    Ex. 70, AGSTAT-T-03640715, at 716.
 82
    Ex. 71, FF-TKY-00111712.
 83
    Ex. 72, PERDUETKY0000095463, at 464.
 84
    Ex. 73, AGSTAT-T-03877188, at native 6.
 85
    Ex. 67, Martin Depo., 131:10-17.
 86
    Id., Ex. 2016.
 87
    Id., Ex. 2018.
 88
    Ex. 74, AGSTAT-T-03961812, at 813.

                                                   - 19 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 29 of 55 PageID #:29399



                                                              89
                                                                   These




                                                                       0
                                                                           As
                                                                                          1



F.     Fueled by the coordination of Agri Stats, as well as direct communications,
       Defendants restrained production and inflated prices throughout the class period.




                                                                                                  92



Furthermore,




                                                                                          3
                                                                                              Defendants

understood




  89
     See, e.g., Ex. 75, HRLTURKEY0000056980-985.
  90
     Ex. 76, COOPER0000197556; Ex. 67, Martin Depo., 157:21-158:12.
  91
     Ex. 40, Maxwell Depo., Ex. 2287                                                               See
also Ex. 1, Williams, ¶¶ 170-173; Ex. 2, Williams Reply, ¶¶ 280-282.
  92
     By
                   Ex. 77, HRLTURKEY0000072771. Likewise, in

             Ex. 78, COOPER0000230670. In
                                                                                Ex. 79,
COOPER0000200665.
 93
    Ex. 40, Maxwell Depo., Ex. 2295; see also id., Ex. 2296



                                                  - 20 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 30 of 55 PageID #:29400




                4



       During this period, Defendants also




                                                            95
                                                                 The following month
                                                                                       96
                                                                                            In



                                                                                                 7



Similarly,



                                          8



       By the



                                              99
                                                   In
                                                                                       00




 94
    Ex. 80, BB000474409, at 411.
 95
    Ex. 81, HRLTURKEY0000073000.
 96
    Ex. 82, HRLTURKEY0000624593, at 593-594.
 97
    Ex. 83, HRLTURKEY0000624561, at 564.
 98
    Ex. 84, COOPER0000126933.
 99
    Ex. 85, FARBEST0000080755.
 100
     Ex. 86, AGSTAT-T-03712023. See also Ex. 1, Williams, ¶¶ 279-290.

                                                   - 21 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 31 of 55 PageID #:29401




                                                                       101




                     02
                          They did.
                                      03


                                                       04
                                                            And in a




              05
                   Indeed,




                     06



          Defendants




  101
        Ex. 87, PERDUETKY0000401662, at native 40; see also Ex. 88, HRLTURKEY0000032708
  102
     Ex. 89, HRLTURKEY0000624553, at 559.
  103
     Ex. 90, FARBEST0001144320.
 104
     Ex. 91, CMS0000001030.
 105
     Ex. 92, BB001801741, at 741, 742. See also Ex. 1, Williams ¶¶ 293, 295-296, 308-311; Ex. 3,
Williams Sur-Reply, ¶ 52
  106
        Ex. 93, COOPER0000198356. See also Ex. 1, Williams, ¶¶ 291-296.

                                                  - 22 -
Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 32 of 55 PageID #:29402




                                               107
                                                     That same month,
                                                                          108
                                                                                And at




                                                                        109
                                                                              On




              110
                    Following further communications



                       11



         Unsurprisingly,




                                 112
                                       By




107
    Ex. 94, COOPER0000127603, at 604.
108
    Ex. 95, HRLTURKEY0000170040, 41, at native 25.
109
    Ex. 96, COOPER0000236489, at 491
110
    Ex. 97, HRLTURKEY0000688284.
111
    Ex. 98, HRLTURKEY0000684418. See also Ex. 1, Williams, ¶¶ 297-307.
                         See, e.g., Ex. 99, BB000676507

           See also sections III.C-D, above.
112
      Ex. 100, BB001027981.

                                                         - 23 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 33 of 55 PageID #:29403



                                                       113
                                                             In
                                  114



          But following the filing of Broilers in September 2016, Processor Defendants
                                                                     115


                                              16
                                                   and the
                                                     117
                                                           Indeed,
                                                       119
                                                             to 70% in September 2017, 50% in January

2018, and 27% in September 2018.120 As



             121
                   The gig was finally up.

                                        IV.   LEGAL STANDARD

          A party seeking to certify a class action must show that the proposed class satisfies the

four prerequisites of Federal Rule of Civil Procedure 23(a): numerosity, commonality, typicality,

and adequacy of representation, and one of the subsections of Rule 23(b).122 District courts have

broad discretion in determining whether a proposed class satisfies Rule 23.123




  113
        Ex. 101, CMS0000294928.
  114
        Ex. 102, BB001942399; Ex. 103, COOPER0000219473, at 492. See also Ex. 1, Williams, ¶¶ 308-
311.
  115
      Ex. 2, Williams Reply, ¶ 156; Ex. 104, AGSTAT-T-03363548.
  116
      Ex. 33, Milton Depo., 305:13-22.
  117
      Id., 19:22-20:1, 20:23-21:3.
  118
      Ex. 105, AGSTAT-T-03324511, 512, at native 4, 7.
  119
      Ex. 106, AGSTAT-T-03356403, 404, at native 6 (turkey industry participation of 95% in 2016); see
also Ex. 107, AGSTAT-T-03386398, 400, at native 5 (turkey industry participation of 85% in 2016).
  120
      Ex. 108, PFI00001096, at native 3, 14.
  121
      Ex. 33, Milton Depo., 305:23-306:4.
  122
      See Kleen Prods. LLC v. Int’l Paper Co., 831 F.3d 919, 923 (7th Cir. 2016).
  123
      See, e.g., Riffey v. Rauner, 910 F.3d 314, 318 (7th Cir. 2018) (citing Arreola v. Godinez, 546 F.3d
788 (7th Cir. 2008)); see also Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 369 (2011) (“[M]ost issues
arising under Rule 23 . . . [are] committed in the first instance to the discretion of the district court.”).

                                                           - 24 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 34 of 55 PageID #:29404




        Moreover, while DPPs “bear the burden of showing that a proposed class satisfies the

Rule 23 requirements,” it is “sufficient if each disputed requirement has been proven by a

preponderance of evidence.”124 “If there are material factual disputes, the court must receive

evidence and resolve the disputes before deciding whether to certify the class.”125 “Such an

analysis will frequently entail overlap with the merits of the plaintiff’s underlying claim.”126 But

merits questions may be considered “only to the extent” that they are “relevant to determining

whether the Rule 23 prerequisites for class certification are satisfied.”127 Importantly, “the court

should not turn the class certification proceedings into a dress rehearsal for the trial on the

merits,” because this “runs the risk of supplanting the jury as the finder of fact.”128

                                        V.      ARGUMENT

A.      The elements of Rule 23(a) support certification.

        As Judge Durkin held in Broilers, the four elements of Rule 23(a) “are easily met in this

case.”129

        1.      The class is sufficiently numerous.

        The numerosity requirement of Rule 23(a)(1) is satisfied where joinder of all putative

class members is “impracticable.”130 Courts consider a class of 40 sufficient.131 So the proposed

class of over 1,600 direct purchasers here clears this low bar. Ex. 1, Williams, ¶ 426, 1672.




  124
       Messner v. Northshore Univ. HealthSystem, 669 F.3d 802, 811 (7th Cir. 2012).
  125
       Id.; see also Kleen, 831 F.3d at 928.
   126
       Comcast Corp. v. Behrend, 569 U.S. 27, 33-34 (2013).
   127
       Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 466 (2013); see also Kleen, 831 F.3d
at 928.
   128
       Messner, 669 F.3d at 811, 823.
   129
       2022 WL 1720468, at *3; see also Moehrl v. Nat’l Ass’n of Realtors, No. 19-CV-01610, 2023 WL
2683199 (N.D. Ill. Mar. 29, 2023).
   130
       Fauley v. Drug Depot, Inc., 323 F.R.D. 594, 599 (N.D. Ill. 2018) (Kendall, J.).
   131
       Id.

                                                   - 25 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 35 of 55 PageID #:29405




        2.      Common questions of fact and law exist.

        Commonality under Rule 23(a)(2) requires DPPs “to identify common questions of law

or a nucleus of fact that are apt to drive the resolution of the litigation.”132 According to the

Supreme Court, “even a single common question will do.”133 Here there are many.134 For

example, DPPs will use common evidence to establish whether Defendants conspired to restrict

supply and stabilize the price of turkey.135 And whether Defendants’ conduct violates the

Sherman Act presents classwide questions of law. As this Court held in Fauley, commonality is

satisfied where the defendants engaged in “standardized conduct towards a proposed class” and

the “claim stems from the same federal statute.”136

        3.      The claims of the Named Plaintiffs are typical of the class claims.

        Under Rule 23(a)(3), typicality is satisfied if the claims of the representative parties are

typical of the claims of the class.137 Where “claims stem from the same event, practice, or legal

theory, they are said to be typical.”138 And the Seventh Circuit has explained that the claims

“may feature some factual variations as long as they have the same essential characteristics.”139

        An “antitrust price fixing case generally will involve claims sufficiently similar to satisfy

Rule 23(a)(3).”140 If the class representatives must prove “a conspiracy, its effectuation, and

damages therefrom—precisely what the absentees must prove to recover—the representative

claims can hardly be considered atypical.”141 So too here. The Named Plaintiffs purchased turkey



  132
      Fauley, 323 F.R.D. at 599.
  133
      Dukes, 564 U.S. at 359; Broilers, 2022 WL 1720468, at *5.
  134
      Complaint, ¶ 553.
  135
      See Proffer of Common Evidence, section III, above.
  136
      Fauley, 323 F.R.D. at 600.
  137
      Fed. R. Civ. P. 23(a).
  138
      Fauley, 323 F.R.D. at 600 (citing Keele v. Wexler, 149 F.3d 589, 595 (7th Cir. 1998)).
  139
      Beaton v. SpeedyPC Software, 907 F.3d 1018, 1026 (7th Cir. 2018).
  140
      In re Workers’ Comp., 130 F.R.D. 99, 106 (D. Minn. 1990).
  141
      Id.

                                                    - 26 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 36 of 55 PageID #:29406




directly from Processor Defendants for resale.142 And Defendants’ collusion gives rise to their

antitrust claims for damages—just as it does for class members. Indeed, Judge Durkin rejected

the argument that buyers “with varying degrees of bargaining power” undermined typicality,

because “all participants in a commodity market exercise their bargaining power—regardless of

strength—in the context of the market price.”143 Typicality is satisfied.

        4.     The Named Plaintiffs will adequately represent the class.

        The adequacy requirement of Rule 23(a)(4) is satisfied where the class representatives

have a “sufficient interest in the outcome of the case to ensure vigorous advocacy” and do not

have interests “antagonistic to those of the class.”144 Here, the Named Plaintiffs have no material

conflict with other class members. Instead, all are interested in establishing Defendants’ liability

and maximizing classwide damages. Moreover, “the proposed representatives have demonstrated

their commitment to vigorously prosecute the interests of the classes by responding to

interrogatories, producing documents, and being deposed.”145 Adequacy is satisfied.

B.      The class satisfies Rule 23(b)(3).

        To satisfy Rule 23(b)(3), DPPs must show that “questions of law or fact common to class

members predominate over any questions affecting only individual members, and that a class

action is superior to other available methods for fairly and efficiently adjudicating the

controversy.”146 Each of these prongs is satisfied here.




  142
      Complaint, ¶¶ 55-56.
  143
      Broilers, 2022 WL 1720468, at *5.
  144
      Saltzman v. Pella Corp., 257 F.R.D. 471, 480 (N.D. Ill. 2009).
  145
      In re Wholesale Grocery Prods. Antitrust Litig., No. 09-md-2009 ADM, 2016 WL 4697338, at *8
(D. Minn. 2016); Ex. 109, Maplevale Farms Decl. at ¶ 6; Ex. 110, John Gross & Co. Decl. at ¶ 6.
  146
      Fed. R. Civ. P. 23(b)(3).

                                                 - 27 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 37 of 55 PageID #:29407




        1.      Questions of law and fact predominate over any individual questions.

        Predominance occurs when “common questions represent a significant aspect of a case

and can be resolved for all members of a class in a single adjudication.”147 “Individual questions

need not be absent,” because Rule 23 “requires only that those questions not predominate over

the common questions affecting the class as a whole.”148 But this does not imply “a tally of

common questions.”149 Instead, the district court “must consider their relative importance.”150

And courts “routinely” find “common questions predominate” where conduct is “widespread.”151

        Analysis of predominance under Rule 23(b)(3) “begins, of course, with the elements of

the underlying cause of action.’”152 The elements of DPPs’ per se claim under section 1 of the

Sherman Act are “(1) a violation of antitrust law; (2) individual injury, or impact, caused by that

violation; and (3) measurable damages.”153 DPPs’ rule of reason claim for information exchange

contains the same three elements, as well as a requirement under the first element to establish

anticompetitive effects either directly or indirectly by showing that Defendants exercised market

power in a relevant market.154 Each of these elements presents important classwide questions

provable with common evidence.




  147
      Kleen, 831 F.3d at 925 (affirming grant of class certification).
  148
      Messner, 669 F.3d at 815 (finding predominance and vacating order denying class certification).
  149
      Beaton, 907 F.3d at 1029 (affirming grant of class certification).
  150
      Id.
  151
      Ross v. Gossett, 33 F.4th 433, 439, 442 (7th Cir. 2022) (affirming grant of class certification: “court
properly limited the inquiry here to whether a common question exists and predominates, not whether the
plaintiffs would prevail as to that common question”).
  152
      Zarinebaf v. Champion Pet Foods USA, Inc., No. 18 C 6951, 2023 WL 2561613, at *4 (Mar. 17,
2023) (Kendall, J.); see also Messner, 669 F.3d at 815 (quoting Erica P. John Fund, Inc. v. Halliburton
Co., 563 U.S. 804, 810 (2011)).
  153
      In re Steel Antitrust Litig., No. 08 C 5214, 2015 WL 5304629, at *5 (N.D. Ill. Sept. 9, 2015).
  154
      Toys “R” Us v. Fed. Trade Comm’n, 221 F.3d 928, 937 (7th Cir. 2000).

                                                     - 28 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 38 of 55 PageID #:29408




                a.       Common questions as to Defendants’ violations of antitrust law
                         predominate.

        In Broilers, Judge Durkin held that liability with respect to this “type of alleged

conspiracy is the prototypical example of an issue where common questions predominate,”

because it can be “resolved for all members of a class in a single adjudication.”155 Indeed, the

Seventh Circuit stated in Kleen that “the existence of the conspiracy could be (perhaps had to be)

proven by evidence common to the class.”156 Here, as in other antitrust cases, DPPs will use

common evidence, including Defendants’ own documents and testimony, to prove that

Defendants formed a per se illegal conspiracy.157 See Proffer, section III, above. And, in support

of DPPs’ rule of reason claim, Dr. Williams offers testimony, common to the class, explaining

that

                               Ex. 1, Williams, ¶¶ 127-264, 334-343, as well as economic evidence

that

Id. at ¶¶ 47-126. The common documentary evidence produced in this litigation supports these

opinions. Because these dispositive liability questions are the “focus of the dispute here,” they

predominate over any individual questions.158


  155
       2022 WL 1720468, at *6-7; see also Pork, 2023 WL 2696497, at *20; In re Sulfuric Acid Antitrust
Litig., No. 03 C 4576, 2007 WL 898600, at *6 (N.D. Ill. Mar. 21, 2007) (“[T]he existence of a conspiracy
is a common question that can be addressed at the class-wide level and need not be addressed again as a
stumbling block for finding predominance.”); 7 C. Wright, A. Miller, & M. Kane, Federal Practice &
Procedure § 1781 (3d ed. 2020) (“whether a conspiracy exists is a common question that is thought to
predominate over the other issues in the case and has the effect of satisfying the first prerequisite in Rule
23(b)(3)”).
   156
       Kleen, 831 F.3d at 927 (affirming order granting class certification).
   157
       Moehrl, 2023 WL 2683199, at *13 (“While the evidence might vary as to the nature of each
Defendant’s participation in the conspiracy, the same evidence will be relied upon by Plaintiffs and
members of the class.”).
   158
       Messner, 669 F.3d at 816; see also Kleen, 831 F.3d at 929 (affirming ruling that “class issues
predominated”); Sulfuric Acid, 2007 WL 898600, at *6; see generally In re Urethane Antitrust Litig., 768
F.3d 1245, 1255 (10th Cir. 2014) (“In price-fixing cases, courts have regarded the existence of a
conspiracy as the overriding issue even when the market involves diversity in products, marketing, and
prices.”).

                                                     - 29 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 39 of 55 PageID #:29409




                b.      Antitrust impact will be proven through evidence that is common to
                        the class.

        The second element of DPPs’ claim is antitrust impact, or “fact of damage.”159 The legal

inquiry for impact “is whether, as a result of defendants’ alleged . . . conspiracy, the putative

class plaintiffs paid a price that was artificially high.”160 DPPs’ “burden at the class certification

stage is not to prove the element of antitrust impact.”161 Instead, DPPs must “only [] demonstrate

that the element of antitrust impact is capable of proof at trial through evidence that is common

to the class rather than individual to its members.”162 “If it appears that plaintiffs may be able to

prove at trial . . . the price range was affected generally, then the plaintiffs can show impact

without a ‘but-for’ comparison, and this is so even if there are negotiated prices or a variety of

prices.”163 Here, in addition to offering common evidence that Defendants’ collusion inflated

turkey prices above the competitive level, DPPs also offer common evidence that price increases

in fact had a market-wide impact.

        Similar to Broilers and Pork, DPPs offer common proof of market-wide overcharges

based on (1) economic theory and evidence regarding the structure of the turkey market;

(2) common evidence demonstrating that Urner Barry provided a market benchmark for

collusive turkey sales; (3) a multiple regression model measuring impact on the class using



  159
       Messner, 669 F.3d at 816.
  160
       In re Urethane Antitrust Litig., 251 F.R.D. 629, 634-36 (D. Kan. 2008). The “prevailing view” is
that “price-fixing affects all market participants, creating an inference of class-wide impact even when
prices are individually negotiated.” Kleen Prods. v. Int’l Paper, 306 F.R.D. 585, 600 (N.D. Ill. 2015)
(quoting Urethane, 768 F.3d at 1254). DPPs do not, however, rely on a mere presumption of impact.
   161
       Moehrl, 2023 WL 2683199, at *14 (quoting Messner, 669 F.3d at 818).
   162
       Id. (emphasis in original); see also Messner, 669 F.3d at 819 (“common evidence and common
methodology to prove a class’s claims is sufficient to support a finding of predominance on the issue of
antitrust impact”); Tuna, 31 F.4th at 666-67 (“In determining whether the ‘common question’ prerequisite
is met, a district court is limited to resolving whether the evidence establishes that a common question is
capable of class-wide resolution, not whether the evidence in fact establishes that plaintiffs would win at
trial.”), cert. denied sub nom., 143 S. Ct. 424 (2022).
   163
       Kleen, 306 F.R.D. at 595.

                                                    - 30 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 40 of 55 PageID #:29410




Defendants’ data; and (4) additional econometric analysis, including a separate regression

estimation by product category, various pricing correlations, and common impact regressions

showing impact on 99.8% of direct purchasers.164

                          (1)    Market structure evidence demonstrates that the turkey
                                 market was conducive to cartel pricing.

        The Seventh Circuit in Kleen recognized that to establish predominance DPPs may rely

on evidence that the “structure of the [turkey] market was conducive to successful collusion” as

“common proof that will establish antitrust injury (in the form of cartel pricing here) on a

classwide basis.”165 Each of the market characteristics that the Seventh Circuit held were relevant

in Kleen for showing common proof of injury are also present here: (1) a concentrated market;

(2) vertical integration; (3) barriers to entry; (4) no competition from foreign imports; (5) lack of

substitutes; and (6) a commodity product.166 Thus, as Dr. Williams opines, the structure of the

turkey industry ensured that any collusion would impact prices throughout the market. Ex. 1,

Williams, ¶¶ 347-370.

        Concentration: The market for turkey is highly concentrated.167 As Dr. Williams shows,

Processor Defendants collectively accounted for at least           % of the total live pounds of turkey

processed in the U.S. in the                        with Defendants and co-conspirators collectively

accounting for at least         . Ex. 1, Williams, ¶ 20 & T.1, 372.



  164
      Broilers, 2022 WL 1720468, at *7-19 (finding predominance of common questions and certifying
three antitrust classes); Pork, 2023 WL 2696497, at *20-25 (same).
  165
      831 F.3d at 927.
  166
      Id. (citing In re Text Messaging Antitrust Litig., 782 F.3d 867, 872 (7th Cir. 2015)); see also
Broilers, 2022 WL 1720468, at *13; Pork, 2023 WL 2696497, at *20, 21; Tuna, 31 F.4th at 670, 673,
676.
  167
      831 F.3d at 924, 927 (defendants accounted for 74% of production); see also In re Capacitors
Antitrust Litig., No. 17-md-02801-JD, 2018 WL 5980139, at *8 (N.D. Cal. Nov. 14, 2018) (certifying
class and noting that the plaintiffs’ expert “provided considerable material about how the structure of the
market for capacitors was conducive to price fixing, including evidence about the concentration of
manufacturers”).

                                                     - 31 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 41 of 55 PageID #:29411




        Barriers to Entry/Vertical Integration: Barriers that “limit the entry of firms into a

market,” including high capital expenditure requirements and high levels of vertical integration,

“tend to make that market more conducive to the formation and maintenance of a conspiracy.”

Id. at ¶ 361. As multiple Defendants testified,

                                                                       Id. at ¶¶ 362-363. And the

Seventh Circuit has held that a “capital-intensive manufacturing process (which affect[s] the

pace and likelihood of new entry)” is a “well accepted characteristic[] of a market that is subject

to cartelization.”168

        Moreover, Processor Defendants are

                                                                                         Ex. 1,

Williams, ¶ 30 & n.21; see also id. at ¶¶ 31-41, 364-365.169 Indeed, most of the turkeys in the

U.S. are



                                                                  Id. at ¶ 32.

        No Competition from Imports: Nor are foreign producers likely to threaten Defendants’

control of the market.170 USDA’s Shagam testified that a very small amount of turkey is

imported into the U.S.171 Indeed, USDA data show that imports accounts for less than 1% of

U.S. turkey consumption for every year in the period 2000-2021. Ex. 1, Williams, ¶ 366. As

Dr. Williams explains, “only a select list of countries (Canada, Chile, Israel, Mexico, Poland) are




  168
      Kleen, 831 F.3d at 927.
  169
      See also Ex. 111, HRLTURKEY0000176429 (Jennie-O touting the “vertical coordination of our
systems and the ability to process, market and sell the entire bird”).
  170
      Kleen, 831 F.3d at 927 (identifying “weak competition from import[s]” as characteristic of market
conducive to collusion). See also Ex. 1, Williams, ¶¶ 46, 366-367.
  171
      Ex. 112, Shagam Depo., 281:17-20.

                                                   - 32 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 42 of 55 PageID #:29412




listed by the USDA as eligible to export fresh or frozen turkey meat to the United States.” Id. at ¶

367.

        Lack of Substitutes: Markets with “no good substitutes” and “low elasticity of demand”

are “accepted characteristics of a market that is subject to cartelization.”172 Both apply to turkey.

Defendants themselves acknowledge that



           Ex. 1, Williams, ¶¶ 89-96. For example,
                                                         73
                                                              and
                                                                      74
                                                                           Thus, according to USDA

data, “turkey demand is inelastic,” meaning that “consumers’ propensity to substitute other

proteins for turkey meat in response to price changes is limited.” Ex. 1, Williams, ¶¶ 358-360.

        Commodity Product: The market for turkey is also “subject to cartelization,” because

turkey is a “standardized, commodity product.”175 Processor Defendants acknowledge that



             76                                                                        177




                      78
                           So




  172
      Kleen, 831 F.3d at 927. See also Ex. 1, Williams, ¶¶ 89-96, 104-106, 356-360.
  173
      Ex. 113, BB000731815, at native 3.
  174
      Ex. 114, PERDUETKY0000470250, at 254.
  175
      Kleen, 831 F.3d at 927. See also Ex. 1, Williams, ¶¶ 348-355.
  176
      Ex. 115, FARBEST0001212494.
  177
      Ex. 116, BB000885272, at 277, 306.
  178
      Ex. 117, Reese Depo., 77:1-78:5, 78:18-79:6, 80:5-12.

                                                   - 33 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 43 of 55 PageID #:29413




                179



        In sum, DPPs’ evidence—including Dr. Williams’s report—demonstrates that the

structure of the turkey market was conducive to successful collusion and provides common proof

that will establish antitrust injury on a classwide basis.180

                            (2)   Common evidence demonstrates that industry-wide market
                                  prices were a shared reference point for all transactions

        As the Seventh Circuit stated in Kleen, “[e]ven for transactions where prices were nego-

tiated individually,” classwide impact follows where the “starting point for those negotiations

would be higher if the market price for the product was artificially inflated.”181 Both Judge

Durkin in Broilers and Judge Tunheim in Pork relied on evidence that individual negotiations

“take place in the context of a ‘market price’”182 and that “market prices generally set the

individual Defendants’ prices” in finding a predominance of common questions as to impact.183

The evidence shows that Defendants based their prices on common benchmarks here as well.

        In particular,




                      184


                                                    185




  179
      Id. at 267:2-8.
  180
      Kleen, 831 F.3d at 927.
  181
      831 F.3d at 928-29; see also Tuna, 31 F.4th at 678 (“district court could reasonably conclude that
price-fixing would have affected the entire market, raising the baseline prices for all buyers”).
  182
      Broilers, 2022 WL 1720468, at *15.
  183
      Pork, 2023 WL 2696497, at *24.
  184
      Ex. 118, Lightle Depo., 206:4-16.
  185
      Ex. 119, Souders Depo., 236:10-14.

                                                    - 34 -
Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 44 of 55 PageID #:29414




               86




                                    87




         188
               Indeed,
                                                                 89



      Defendants also

                                                  For example,




                                                                      190
                                                                            Similarly,




                    191



      Moreover, Defendants confirmed



                                                                               192




186
    Ex. 120, Taber Depo., 111:15-17, 113:2-4.
187
    Ex. 29, Meath Depo., 52:20-53:4.
188
    Id. at 102:19-22.
189
    Ex. 118, Lightle Depo., 124:8-10; see also id. at 210:6-9

    Ex. 121, FARBEST0000031952.
191
    Ex. 122, PERDUETKY0000433871, at native 23.
192
    Ex. 123, HRLTURKEY0000101719, at 720.

                                                   - 35 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 45 of 55 PageID #:29415




                                    194




                                                 so
                                  96
                                       And in
                                                               97



        Likewise,



             198
                   Similarly,



                        199
                              Such record evidence is unquestionably “probative of whether common

issues will predominate with respect to antitrust impact.”200

        Furthermore, this record evidence is confirmed by the extensive correlation analyses that

Dr. Williams conducts, which show that prices move in synchronicity across products, Processor




  193
      Id.
  194
      Ex. 124, COOPER0000232517.
  195
      Ex. 125, BB001836999.
  196
      Ex. 126, FARBEST0001143649.
  197
      Ex. 127, BB000956825, at 826.
  198
      Ex. 128, FARBEST0001330031.
  199
      Ex. 129, HRLTURKEY0000044216.
  200
      In re Mushroom Direct Purchaser Antitrust Litig., 319 F.R.D. 158, 200 (E.D. Pa. 2016); In re Blood
Reagents Antitrust Litig., No. 09-2081, 2015 WL 6123211, at *33 (E.D. Pa. Oct. 19, 2015) (finding that
although the defendants’ internal “documents, standing alone, would not suffice to prove impact,” they
“lend support to a finding of predominance”).

                                                      - 36 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 46 of 55 PageID #:29416




Defendants, geographic locations, and customers.201 This is consistent with the record evidence

that market prices for turkey products acted as a reference point for prices across the industry. As

those market prices changed, prices across the industry also changed. For example, as shown in

the figure below, prices for turkey breast products all moved together throughout the class

period, from the least expensive to the most expensive products.202 Dr. Williams also finds the

same results for the other class products—ground turkey and whole turkey.203




                       (3)     Collectively, these market structure facts, in combination with
                               the basic economic laws of supply and demand, support a
                               finding of common impact.

        Examined holistically, the basic characteristics of the turkey market discussed above, in

conjunction with fundamental economic theory, support the conclusion that Defendants’


  201
      Ex. 1, Williams, ¶¶ 428-441; see also Pork, 2023 WL 2696497, at *21 (“Correlation analysis
conducted by Dr. Mangum further bolsters that all DPPs would be impacted by the price increase.”)
  202
      Ex. 1, Williams, ¶ 434, fig. 31.
  203
      Id., ¶ 434, fig. 32 & 33.

                                                  - 37 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 47 of 55 PageID #:29417




collusion would cause higher prices for all or nearly all turkey products. As discussed above,




                                204
                                      Moreover,




                                                  05
                                                       And a
                                206




         07
              As a result,                                                                        Ex. 1,

Williams, ¶¶ 375-376.208 Defendants and other market participants

                                                   Ex. 1, Williams ¶¶ 377-379.



         09
              And USDA’s Shagam confirmed that one “would expect to see higher prices just

from a tighter supply of poultry.”210 Indeed, an internal
                                                                                            211




  204
      Ex. 130, Cooper Depo., 43:6-14.
  205
      Ex. 29, Meath Depo., 101:5-11.
  206
      Ex. 131, Downes Depo., 261:8-16
  207
       Ex. 29, Meath Depo., 98:20-99:1.
  208
       See also Gen. Leaseways, Inc. v. Nat’l Truck Leasing Ass’n, 744 F.2d 588, 594 (7th Cir. 1984)
(explaining that when “firms restrict output directly, price will as mentioned rise”) (Posner, J.); In re
Linerboard Antitrust Litig., 305 F.3d 145, 152 (3d Cir. 2002) (“A reduction in supply will cause prices to
rise.”).
   209
       Ex. 18, Scholer Depo., 132:10-12.
   210
       Ex. 112, Shagam Depo., 109:18-21.
   211
       Ex. 132, HRLTURKEY0000169912, at native 2; Ex. 1, Williams, ¶ 379, fig. 27.

                                                       - 38 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 48 of 55 PageID #:29418




                       (4)     Regression analyses shows common impact in the form of
                               higher prices.

        “In antitrust cases, regression models have been widely accepted as a generally reliable

econometric technique to control for the effects of the differences among class members and

isolate the impact of the alleged antitrust violations on the prices paid by class members.”212 Just

as in Broilers, Pork, Kleen, and Tuna, here Dr. Williams performs a “regression analysis to

determine whether factors other than a conspiracy could have caused the supply decrease by

analyzing what [turkey] prices would have been ‘but for’ the conspiracy.”213 As Judge Durkin

explained: “Plugging in known prices and market factor data from the class period and running

the regression equation to solve for the dummy variable allows the experts to calculate the




  212
    See, e.g., Tuna, 31 F.4th at 677.
  213
    Broilers, 2022 WL 1720468, at *7; see also Kleen, 831 F.3d at 929; Pork, 2023 WL 2696497, at
*20-21; Tuna, 31 F.4th at 676, 682-84. See also Ex. 1, Williams, ¶¶ 380-384.

                                                 - 39 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 49 of 55 PageID #:29419




portion of price not accounted for by the market factors.”214 And Dr. Williams did just that—

proving empirically that Defendants’ collusion caused higher prices.

           Dr. Williams used an “overcharge regression based on a reduced form price equation” to

“measure the relationship between market prices and fundamental factors that affect supply and

demand.” Ex. 1, Williams, ¶¶ 12, 380-384, 446. Using nearly               transactions representing

$         billion in commerce, Dr. Williams’s econometric model determined the impact of

Defendants’ conduct by comparing the prices paid by direct purchasers during the conspiracy

period to a benchmark period. Id. at ¶¶ 12, 385-402, 446. In his model, Dr. Williams controlled

“supply-side factors such as dressed meat cost, avian influenza in 2015; demand-side factors

such as population, disposable income per capita, 2011 food-borne pathogens, prices of

substitute products; and factors that may affect both demand and supply such as inflation and the

Great Recession.” Id. at ¶¶ 12, 403-414, 446. After “accounting for demand and cost factors that

may affect turkey product prices,” he found that “Defendants’ alleged conspiracy increased

turkey product prices by        %.” Id. at ¶¶ 12, 415-417. Moreover, as an additional robustness

check, Dr. Williams estimates his regression model separately by product category, finding

statistically significant overcharges as to each of turkey breast, ground turkey, and whole turkey.

Id. at ¶¶ 423-424.

           On very similar evidence, classes were certified in Broilers, Tuna, and Pork.215 As Judge

Wood recently stated, Defendants’ criticisms of “aspects of [the expert’s] methodology should

be presented to the jury and do not stand in the way of class certification.”216 So too here.


    214
      Broilers, 2022 WL 1720468, at *12; see also 2 Phillip E. Areeda & Herbert J. Hovenkamp, Antitrust
Law §395 (4th ed. 2021) (“coefficient on the dummy variable” is “an estimate of the collusive
overcharge—that is, the increase in price due solely to the anticompetitive behavior”).
  215
      2022 WL 1720468, at *7; see also Pork, 2023 WL 2696497, at *20-21; Tuna, 31 F.4th at 676, 682-
84.
  216
      Moehrl, 2023 WL 2683199, at *17.

                                                   - 40 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 50 of 55 PageID #:29420




                        (5)     Additional common econometric evidence demonstrates that
                                all or nearly all direct purchasers suffered impact.

        In concluding that the “anticompetitive effects of the alleged conspiracy were widespread

across members of the proposed Class, causing harm to all or virtually all Class Members,”

Dr. Williams relies on additional econometrics besides his overcharge model and correlation

analyses discussed above, determining that “all or almost all Class Members had at least one

overcharge observation during the damages period.” Ex. 1, Williams, ¶¶ 12, 419, 446. In a two-

step approach, Dr. Williams uses the model underlying his common impact regression analysis,

or true model, “to predict but-for prices and compare those prices to the actual prices for each

observation of each consumer in the data for the damages period.” Ex. 1, Williams, ¶ 425; Ex. 3,

Williams Sur-Reply, ¶ 141 n.192. Importantly, he finds that 1,672 of 1,675 of the unique

customers in the dataset—or approximately 99.8%—had at least one overcharge observation

during the class period.217 Ex. 1, Williams, ¶¶ 426-427. Thus, Dr. Williams opines that the

“anticompetitive effects of the alleged conspiracy were widespread across members of the

proposed Class, causing harm to all or virtually all Class Members.” Ex. 1, Williams, ¶¶ 12, 446.

        2.      Damages can be measured using a common methodology.

        At the class certification stage, “Plaintiffs simply need to show that ‘there is a classwide

method for proving damages’”218 and that their damages theory “correspond[s] to the theory of

liability” under Comcast.219 It is “well established that the presence of individualized questions




  217
      See Tuna, 31 F.4th at 672 (“comparison showed that 94.5 percent of the purchasers had at least one
purchase above the predicted but-for price, which again provided further evidence that the conspiracy had
a common impact on all or nearly all the members of the DPP class”); Pork, 2023 WL 2696497, at *21
(application of model to class members to “determine[] that over 99% of DPPs paid elevated prices at
least once during the Class Period” was “type of market-wide economic analysis [that] has been accepted
by many courts to show predominance as to antitrust impact”).
  218
      Moehrl, 2023 WL 2683199, at *20 (quoting Kleen, 831 F.3d at 929).
  219
      Kleen, 831 F.3d at 929.

                                                   - 41 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 51 of 55 PageID #:29421




regarding damages does not prevent certification.”220 Indeed, the “use of aggregate damages

calculations” is “implied by the very existence of the class action mechanism itself.”221

Moreover, the “Seventh Circuit has recognized that ‘in complicated antitrust cases plaintiffs are

permitted to use estimates . . . to calculate a reasonable approximation of their damages.’”222

        DPPs here propose a valid methodology to calculate aggregate damages to the class.

Based on his overcharge regression analysis, Dr. Williams quantifies classwide damages by

comparing (1) prices direct purchasers paid for turkey products to (2) the estimated prices they

would have paid but for Defendants’ alleged conspiracy. Ex. 1, Williams, ¶¶ 14, 448. The

resulting damages total $1.63 billion before trebling. Id. Moreover, “this analysis neatly fits the

Plaintiffs’ claims and theory of harm,” such that “[t]here is no Comcast problem.”223

        3.      A class action is superior to any other alternative.

        Rule 23(b)(3)’s superiority requirement “is comparative” as the “court must assess

efficiency with an eye toward other available methods.”224 Rule 23 instructs that the matters

pertinent to this inquiry include: (A) class members’ interests in individually controlling the

prosecution of separate actions; (B) whether other litigation exists concerning this controversy;

(C) the desirability of concentrating the litigation in this forum; and (D) any likely difficulties in

managing a class action.225 Each of these factors supports certification.

        Where the harm caused to any one individual class member is small, but the collective

harm is great, the first three factors of Rule 23(b)(3) weigh heavily in favor of certification. The



  220
      Moehrl, 2023 WL 2683199, at *20 (quoting Messner, 669 F.3d at 815).
  221
      E.g., In re Pharm. Indus. Average Wholesale Price Litig., 582 F.3d 156, 197-98 (1st Cir. 2009).
  222
      Moehrl, 2023 WL 2683199, at *20 (quoting Loeb Indus., Inc. v. Sumitomo Corp., 306 F.3d 469, 493
(7th Cir. 2002)); see also Comcast, 569 U.S. at 35 (damages “[c]alculations need not be exact”).
  223
      Broilers, 2022 WL 1720468, at *10; see also id. at *19; see also Pork, 2023 WL 2696497, at *7, 26.
  224
      Mullins v. Direct Digital, LLC, 795 F.3d 654, 664 (7th Cir. 2015).
  225
      Fed. R. Civ. P. 23(b)(3).

                                                   - 42 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 52 of 55 PageID #:29422




Seventh Circuit has explained that “Rule 23(b)(3) was designed for situations such as this, in

which the potential recovery is too slight to support individual suits, but injury is substantial in

the aggregate.”226 Class members purchased turkey for resale repeatedly throughout the class

period.227 While some direct purchasers—generally very large purchasers—have opted out in

order to bring individual suits against Defendants, the vast majority of class members have not

done so. Indeed, for most, individual damages are far smaller than the resources required to

litigate against some of the largest agribusiness companies in the country.

        Moreover, in assessing manageability, “the district court should always keep in mind that

the superiority standard is comparative and that Rule 23(c) and (d) permit creative solutions to

the administrative burdens of the class device.”228 As the Seventh Circuit has cautioned, “a class

action has to be unwieldy indeed before it can be pronounced an inferior alternative . . . to no

litigation at all.”229 Thus, as in Broilers, there is not “another available method to address

Plaintiffs’ claims that is superior to certifying a class.”230

        4.      The class is ascertainable.

        The proposed class does not suffer from any of the “three common problems” tending to

frustrate ascertainability: “vagueness, classes defined by subjective criteria, and classes defined

in terms of success on the merits.”231 Instead, the class—direct purchasers of turkey products

from Defendants during the class period—is ascertainable, because it is “defined clearly and




  226
      Beaton, 907 F.3d at 1030; see generally Carnegie v. Household Int’l, Inc., 376 F.3d 656, 661 (7th
Cir. 2004) (“The realistic alternative to a class action is not 17 million individual suits, but zero
individual suits, as only a lunatic or a fanatic sues for $30.”) (emphasis in original.), cert. denied.
  227
      Ex. 109, Maplevale Farms Decl. at ¶ 3; Ex. 110, John Gross & Co. Decl. at ¶ 3.
  228
      Mullins, 795 F.3d at 672.
  229
      Id. at 658.
  230
      2022 WL 1720468, at *20.
  231
      Fauley, 323 F.R.D. at 601 (citing Mullins, 795 F.3d at 659-60); see also Zarinebaf, 2023 WL
2561613, at *2-3.

                                                    - 43 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 53 of 55 PageID #:29423




based on objective criteria.”232 The Seventh Circuit requires nothing more.233

C.       Class Counsel are adequate under Rule 23(g).

         Two firms have litigated this case on behalf of the direct purchaser class for over three

years. Each firm has devoted considerable time and resources to prosecute this action vigorously

since its inception, and each is committed to continuing to do so through the course of this

litigation. The firms have overseen case strategy, briefed and argued motions, coordinated and

reviewed millions of documents from Defendants and third parties, taken and defended dozens of

depositions, and retained experts. DPPs respectfully request that Hagens Berman Sobol Shapiro

LLP and Lockridge Grindal Nauen P.L.L.P. be appointed to act as co-lead class counsel under

Rule 23(g) for the Direct Purchaser class.

                                        VI.      CONCLUSION

         DPPs respectfully request that the Court certify their proposed class.




 232
       Mullins, 795 F.3d at 659.
 233
       Id. at 657-58; see also Broilers, 2022 WL 1720468, at *21.

                                                    - 44 -
Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 54 of 55 PageID #:29424




DATED: September 22, 2023

Respectfully submitted,

/s/ Shana E. Scarlett                    /s/ Brian D. Clark
Shana E. Scarlett                        W. Joseph Bruckner (MN #147758)
Rio S. Pierce                            Brian D. Clark (MN #0390069)
Abby R. Wolf                             Simeon A. Morbey (MN #0391338)
HAGENS BERMAN SOBOL SHAPIRO LLP          Steve E. Serdikoff (PA #86773)
715 Hearst Avenue, Suite 300             Stephen M. Owen (MN#0399370)
Berkeley, CA 94710                       LOCKRIDGE GRINDAL NAUEN P.L.L.P.
(510) 725-3000                           100 Washington Avenue South, Suite 2200
shanas@hbsslaw.com                       Minneapolis, MN 55401
riop@hbsslaw.com                         (612) 339-6900
abbyw@hbsslaw.com                        wjbruckner@locklaw.com
                                         bdclark@locklaw.com
Steve Berman                             samorbey@locklaw.com
HAGENS BERMAN SOBOL SHAPIRO LLP          seserdikoff@locklaw.com
455 North Cityfront Plaza Drive          smowen@locklaw.com
Suite 2410
Chicago, IL 60611                        Co-Lead Counsel for the Direct Purchaser
(708) 628-4949                           Plaintiff Class
steve@hbsslaw.com

Elaine T. Byszewski
HAGENS BERMAN SOBOL SHAPIRO LLP
301 N. Lake Avenue, Suite 920
Pasadena, CA 91101
(213) 330-7150
elaine@hbsslaw.com




                                       - 45 -
 Case: 1:19-cv-08318 Document #: 829 Filed: 09/22/23 Page 55 of 55 PageID #:29425




                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on September 22, 2023, a true and

correct copy of the foregoing was electronically filed by CM/ECF, which caused notice to be

sent to all counsel of record.

                                                  /s/ Shana E. Scarlett
                                                  SHANA E. SCARLETT




                                               - 46 -
